     Case 1:19-cr-00362-LO Document 36 Filed 12/11/20 Page 1 of 13 PageID# 208



                            UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF VIRGINIA
                                   Alexandria Division

UNITED STATES OF AMERICA,                      )
                                               )
v.                                             )
                                               )      Case No. 1:19-cr-362-LO
BRIAN CARPENTER,                               )
                                               )
                           Defendant.          )

                         DEFENDANT'S SENTENCING MEMORANDUM

         COMES NOW Defendant Brian Carpenter, by counsel, and hereby submits his position

with respect to sentencing, in accordance with this Court’s policy regarding sentencing, 18 U.S.C.

§3553(a), and the sentencing principles set forth in United States v. Booker, 543 U.S. 220 (2005),

Rita v. United States, 127 S. Ct. 2456 (2007), Kimbrough v. United States, 128 S. Ct. 558 (2007),

Gall v. United States, 128 S. Ct. 586 (2007) and Nelson v. United States, 129 S.Ct. 890 (2009).

         Mr. Carpenter submits that the appropriate sentence to be imposed is a term of home

confinement in light of the COVID-19 and related considerations set forth in the United States

Sentencing Commission Guidelines Manual (the “Guidelines”). Mr. Carpenter further submits the

requested sentence is “sufficient, but not greater than necessary, to comply with the purposes” set

forth in 18 U.S.C. §3553. In support of this request, Mr. Carpenter sets forth his position herein

below.

         Title 18 U.S.C. § 3553(a) contains an overarching provision instructing district courts to

‘impose a sentence sufficient, but not greater than necessary,’ to accomplish the goals of

sentencing.1 Given the rate of infection in the Bureau of Prisons (“BOP”) is 5.5 times higher than

the general population,2 this Court should examine this requirement in a manner that takes

cognizance of the extraordinary current prevailing conditions that may be life threatening.



1Kimbrough v. United States, 552 U.S. 85, 101 (2007) (quoting 18 U.S.C. § 3553(a)); see also Holguin-
Hernandez v. United States, 140 S. Ct. 762, 766 (2020).

2
 Saloner B, Parish K, et al., COVID-19 Cases and Deaths in Federal and State Prisons E1, J. of Am.
Medicine (July 8, 2020), https://bit.ly/3a4604x.
      Case 1:19-cr-00362-LO Document 36 Filed 12/11/20 Page 2 of 13 PageID# 209



          The United States is experiencing an unprecedented surge in the spread of COVID-19 at

the time of this memorandum.3 Accordingly, any time Mr. Carpenter spends in prison will

necessarily be more severe than it ordinarily would. The Court should account for the oppressive

nature of confinement within the context of these extraordinary circumstances, unprecedented in

U.S. history, by keeping Mr. Carpenter in the community by departing or varying below the

Guidelines range.

          In support of this request, Mr. Carpenter sets forth his position herein below.

                                           I. BACKGROUND

          Mr. Carpenter appears before the Court after having pled guilty to Conspiracy to Commit

Wire Fraud, in violation of 18 U.S.C.§ 1349, a Class C Felony.

          The presentence investigation report (“PSR”) determined the United States Sentencing

Guidelines (“Guidelines”) subjects Mr. Carpenter to a guideline range of 46 to 57 months, based

upon a total offense level of 22 and a criminal history category of II. Mr. Carpenter disagrees with

the PSR’s assessment of the Guidelines range applicable to his case.

          Specifically, Mr. Carpenter disagrees with (1) the characterization of his role in the

criminal conduct as a “leader” and (2) the PSR’s conclusion that he obstructed justice.

                                      II. OBJECTIONS TO PSR

                                          A. Role in The Offense

          The defendant objects to the role in the offense adjustment. While Mr. Carpenter readily

admits the offense conduct involved multiple participants, he maintains that he did not manage or

organize the participants. In addition, Mr. Carpenter did not direct or lead the conspiracy. Instead,

the conspiracy involved several co-conspirators who played various roles. Although Mr. Carpenter’s

role may have been unique, he cannot properly be characterized as qualifying




3   See: https://www.nytimes.com/live/2020/10/30/world/covid-19-coronavirus-updates


                                                     2
   Case 1:19-cr-00362-LO Document 36 Filed 12/11/20 Page 3 of 13 PageID# 210



for the adjustment. Moreover, there is an uncharged coconspirator, A. I., who received 60% of the

proceeds from the offense conduct, with the remainder going to Mr. Carpenter.

       In addition to receiving a larger share of the proceeds of the offense conduct, A.I. and

Carpenter were equally involved in the participation and planning of the scheme. The government,

for unknown reasons, has decided to deliberately ignore another person just as equally culpable as

Mr. Carpenter, this leaving him as the only person who can be classified as a “leader” under the

narrative placed before this Court.

       It is simply unwarranted to adjust the Guidelines upward and assess a leadership role for

Mr. Carpenter when there is another, equally culpable, uncharged individual who will never

appear before this Court as a defendant.

                                      B. Obstruction of Justice

       The defendant objects to the application of the obstruction of justice enhancement. The

defendant does not dispute the facts concerning information submitted on his behalf by his

attorney during the internal investigation of WMATA. Mr. Carpenter maintains the actions of a

third party can not properly be used to support an obstruction of justice enhancement. Moreover,

the same uncharged individual, A.I, was the person who actually created the invoices which were

ultimately given to WMATA.

       The enhancement for obstruction of justice applies to the act of the defendant and not

someone acting on his behalf. The record in this matter is devoid of any reliable evidence that the

defendant “caused” the allegedly false documents to be submitted. In order to justify applying the

enhancement under the current facts of the case the Court would need to assume that the records

submitted by Mr. Carpenter’s then attorney were at his “command.” Again, there is no evidence to

support such a conclusion.




                                                  3
   Case 1:19-cr-00362-LO Document 36 Filed 12/11/20 Page 4 of 13 PageID# 211



                                   III. SENTENCING FACTORS

                                             A. Overview

       For the past 14 years, not only have courts had wide discretion to impose non-Guidelines

sentences, but the “effectively advisory” guidelines are not even to be “presumed reasonable.”

Nelson at 892. The guidelines are only “the starting point and the initial benchmark” of a

sentencing analysis. Gall, 552 U.S. at 49. A district court conducts “its own independent review of

the sentencing factors, aided by the arguments of the prosecution and defense.” United States v.

Cavera, 550 F.3d 180, 184 (2d Cir. 2008).

       The sentencing factors are:

   (1) the nature and circumstances of the offense and the history and characteristics of the
       defendant;

   (2) the need for the sentence imposed to: (A) reflect the seriousness of the offense, to promote
       respect for the law, and to provide just punishment for the offense; (B) to afford adequate
       deterrence to criminal conduct; (C) to protect the public from further crimes of the defendant;
       and (D) to provide the defendant with needed educational or vocational training, medical care,
       or other correctional treatment in the most effective manner;

   (3) the kinds of sentences available;

   (4) the kinds of sentences and the sentencing range established for: (A) the applicable category of
       offense committed by the applicable category of defendant as set forth in the guidelines;

   (5) any pertinent policy statement – [...];

   (6) the need to avoid unwarranted sentence disparities among defendants with similar records who
       have been found guilty of similar conduct; and

   (7) the need to provide restitution to any victims of the offense.

18 U.S.C. §3553(a)(1)-(7). Ultimately, the overarching goal of sentencing is to ensure that a

sentence is “sufficient, but not greater than necessary” to satisfy the purposes of sentencing.

                      B. History & Characteristics of Mr. Carpenter and
                   the Nature & Circumstances of the Offense (§ 3553(a)(1))

                          1. Mr. Carpenter’s History & Characteristics

       Brian Carpenter was born in 1960, in Flint, Michigan. His father died in 1992 and his

mother in 2016. He has two living siblings, with another two having died from various ailments.




                                                    4
   Case 1:19-cr-00362-LO Document 36 Filed 12/11/20 Page 5 of 13 PageID# 212



He was raised by his parents in a safe community in Flint, Michigan and resided in the same home

for the duration of his upbringing. His mother and father were both gainfully employed and

maintained a supportive home environment. Carpenter played sports and eventually graduated

from the University of Michigan.

       Mr. Carpenter is a 60-year-old African American who, while currently maintaining good

physical health, has had two surgical procedures in his life, one in the late 1980’s and one in the

early 1990’s, after suffering a collapsed lung due to injuries from playing football. He requires a

continuous positive airway pressure (CPAP) machine while sleeping. His physician, Scott Nagell,

MD, who has taught medical students on a regular basis since 1991 and is on the faculty of the

UVA School of Medicine, has opined that Mr. Carpenter would be “high risk for severe respiratory

complications” should “he be exposed to and contract the COVID-19 virus.” Exhibit A. Mr.

Carpenter has been under the medical care of Dr. Nagell for almost 20 years.

       Mr. Carpenter asks the Court weigh the increasing number of COVID-related infections

and deaths in Virginia and the rest of the country in determining whether a term of incarceration

is warranted under the circumstances of this case. Mr. Carpenter has medical conditions which

place him in a category of being significantly impacted by the COVID-19 virus should he be

incarcerated.

                           2. Nature & Circumstances of the Offense

       Mr. Carpenter is the first to admit that his actions were wrong and he sincerely regrets his

conduct. He has accepted full responsibility for his role in the scheme, and has demonstrated

appropriate remorse for his misconduct. Mr. Carpenter is proposing this Court impose a

reasonable sentence that will reflect the serious nature and circumstances of this offense, while not

exceeding sentencing purposes recognized by this Court.

       WMATA has a policy which allows a vendor to receive advance payments, partial payments

and progress payments during the performance of a contract to retain products which have been




                                                  5
    Case 1:19-cr-00362-LO Document 36 Filed 12/11/20 Page 6 of 13 PageID# 213



ordered. Contrary to the erroneous position of the government, the policy clearly does exist.4

Specifically, policy 5-3 in relevant part states as follows:

       5-3 CONTRACT FINANCING PAYMENT METHODS

       (a) Contract financing payment means an authorized Authority disbursement of monies to
       a contractor prior to the acceptance of supplies or services by the Authority. Contract
       financing payment methods include advance payments, partial payments, and progress
       payments, which are generally described as follows:

       (b) Advance payments are advances of money by the Authority to a prime contractor before,
       in anticipation of and for the purpose of complete performance under one or more contracts.
       They are expected to be recovered from payments due to the contractor incidental to
       performance of the contract(s). Advance payments may be made to prime contractors for
       the purpose of making advances to subcontractors.

       Mr. Carpenter acknowledges that he, A.I. and a WMATA employee exploited a loophole in

the procurement policy which permitted this offense conduct to occur and go unnoticed. He regrets

his conduct and agreement with A.I and the WMATA employee to break the law.

       Mr. Carpenter takes responsibility for his role in the offense, wants to improve his life and

contribute constructively to his family and his community.

                           C. Remaining Factors of 18 U.S.C. § 3553(a)

              1. The Need for the Sentence Imposed to Reflect the Seriousness
             of the Offense, to Provide Just Punishment, to Avoid Unwarranted
                  Sentence Disparities, and to Promote Respect for the Law

       As the Court reflects upon the person being sentenced, Mr. Carpenter urges the Court to

consider – under the COVID-19 world which is not a factor considered under the Guidelines – that

a term of home detention will reflect the seriousness of the instant offense, promote respect for the

law, provide just punishment, and avoid unwarranted sentence disparities. The requested

sentence will provide just punishment for the offense and will adequately restrict Mr. Carpenter

from a normal life.




4https://www.dropbox.com/s/46ywdsj5da7o9s6/WMATA-Procurement-Procedures-Manual-Revision-7-4-
1.pdf?dl=0

                                                    6
    Case 1:19-cr-00362-LO Document 36 Filed 12/11/20 Page 7 of 13 PageID# 214



                b. The Requested Sentence Can Provide Adequate Deterrence,
                and Protect the Public from Future Offenses by Mr. Carpenter

       A term of home detention will provide adequate general and specific deterrence under the

unique circumstances of the COVID-19 pandemic. The available empirical data does not support

the conclusion that increased punishment leads to increased deterrent effects.5 Nonetheless, the

requested sentence sends a powerful message to the community that this type of white-collar crime

will not be tolerated. In addition, the requested sentence will provide specific deterrence while Mr.

Carpenter remains detained for a term of months, followed by a term of supervised release, during

which he can be sent to prison upon the violation of any release condition.

                                 c. Adverse Impact on Unrelated Parties

       Mr. Carpenter is the owner of a janitorial services/supplies company that employs 30+

individuals. Active incarceration for the period of time sought by the government would

undoubtedly be injurious not only to his employees, but to their families as well.

                 IV. THE COURT SHOULD IMPOSE A VARIANT SENTENCE

                      A. The Need for the Sentence Imposed To Provide
                 Just Punishment For the Offense — 18 U.S.C. § 3553(a)(2)(A)

       This Court may take into account the harshness of prison conditions when assessing the

severity of the sentence. United States v. Spano, 476 F.3d 476, 479 (7th Cir. 2007), citing Koon v.

United States, 518 U.S. 81, 111–12 (1996). Further, lock-down measures instituted by prisons

across the country in order to mitigate the spread of the pandemic have made confinement much

more punitive than was contemplated at sentencing. United States v. Indarte, 2020 WL 6060299,

at *4 (W.D. Wash. Oct. 14, 2020).




5Valerie Wright, Ph.D., “Deterrence in Criminal Justice,” The Sentencing Project (November 2010)(
https://www.sentencingproject.org/publications/deterrence-in-criminal-justice-evaluating-certainty-vs-
severity-of-punishment/ (“...the studies reviewed do not provide a basis for inferring that increasing the
severity of sentences generally is capable of enhancing deterrent effects”), quoting Andrew von Hirsch,
Anthony Bottoms, Elizabeth Burney, and P-O. Wikstrom, “Criminal Deterrence and Sentence Severity:
An Analysis of Recent Research,” Oxford: Hart Publishing (1999).


                                                    7
    Case 1:19-cr-00362-LO Document 36 Filed 12/11/20 Page 8 of 13 PageID# 215



       To determine the just punishment in this case, the Court should consider the life-

threatening conditions under which Mr. Carpenter will serve his sentence. In order to mitigate the

spread of COVID-19 in the BOP, Mr. Carpenter will likely be incarcerated with limited

programming and movement and unreliable access to family. In March 2020, BOP modified its

operations to respond to the spread of COVID-19. All visitation from family and friends was

suspended and individuals were limited in their movements to prevent congregate gathering and

maximize social distancing.6 While the BOP’s website claims movement exceptions are made to

permit showers three times a week, telephone and email access, commissary, and laundry, these

most basic activities have not always been permitted. Additionally, evidence clearly establishes

that the use of solitary confinement has been used as a substitute for safe and proper management

of the BOP inmates.”7

       Mr. Carpenter will not only be subject to oppressive incarceration conditions, but he will

also be at risk of contracting COVID-19; a life-threatening disease. Guidance from the Centers for

Disease Control and Prevention (“CDC”), such as social distancing, is simply “impossible to achieve

in our federal prisons”[—particularly during a lockdown]. Incarcerated individuals cannot socially

distant themselves as they share bathrooms, sinks, showers, and telephones. They eat together,

and sleep in close proximity to one another, lack the freedom to bathe regularly, and are unable to

effectively disinfect their surroundings.

                     B. The Need for the Sentence Imposed To Provide
                The Defendant With Medical Care — 18 U.S.C. § 3553(a)(2)(D)

       In addition to BOP being unable to provide safe incarceration conditions during the

COVID-19 pandemic, Mr. Carpenter’s age and physical condition put him at a higher risk of severe




6Fed. Bureau of Prisons, BOP Implementing Modified Operations,
https://www.bop.gov/coronavirus/covid19_status.jsp (last visited Nov. 6, 2020).

7Solitary Watch, Solitary Confinement is Never the Answer (June 2020), https://bit.ly/3gL1IR9; See
also, e.g., Sentencing Resource Counsel for the Federal Public and Community Defenders, The
Worsening COVID-19 Crisis in Federal Detention (July 30, 2020), https://bit.ly/3knrYUL


                                                    8
      Case 1:19-cr-00362-LO Document 36 Filed 12/11/20 Page 9 of 13 PageID# 216



illness or death he contracts COVID-19 and the BOP cannot effectively protect him from this

unwarranted risk.

          Dr. Nagell’s letter and the PSR sets forth medical conditions which support the imposition

of a term of home confinement. The BOP has proven unable to provide effective medical care for

people with prior existing medical conditions like Mr. Carpenter. In 2016, DOJ’s Office of Inspector

General (OIG) found that BOP experienced chronic medical staffing shortages and failed to take

adequate measures to address them, endangering the safety and security of its institutions.8

          Further, BOP’s inability to care for aging individuals is well-documented. Even prior to

COVID-19, BOP lacked appropriate staffing levels and infrastructure to meet the needs of aging

individuals.9 Mr. Carpenter could wait months for even routine medical equipment—like glasses

or dentures.10 Because of his advanced age, he is at particularly high-risk for severe complications

if he were to contract the virus.

          Furthermore, despite deaths due to COVID-19 related illnesses, the BOP’s ability to

provide effective medical care has only deteriorated.11 The BOP has failed to implement large




8U.S. Dep’t of Justice Office of the Inspector Gen., Review of the Federal Bureau of Prisons’ Medical
Staffing Challenges i-ii, 1-2 (Mar. 2016), https://oig.justice.gov/reports/2016/e1602.pdf.

9U.S. Dep’t of Justice, Office of the Inspector Gen., The Impact of an Aging Inmate Population on the
Federal Bureau of Prisons i-ii (Rev. Feb. 2016), https://oig.justice.gov/reports/2015/e1505.pdf.

10   Aging Inmate Population, at 17-19.

11
  See, e.g., U.S. Dep’t of Justice, Office of the Inspector Gen., Pandemic Response Report: Remote
Inspection of Federal Correctional Complex Lompoc 9-10 (July 2020), https://bit.ly/3a3ICUR (confirming
that FCC Lompoc’s failed COVID-19 response was, in part, due to “several key leadership vacancies
across the complex and [that the complex] did not have communications protocols in place to fully
inform staff about the spread of the virus”); Class Action Petition for Writ of Habeas Corpus, Hallinan v.
Scarantino, No. 20-hc-2088-FL (E.D.N.C. May 26, 2020), ECF No. 1-18, at 7 (Declaration of Dr. Chris
Beyrer) (“BOP’s actions (or inaction) fail to follow the most basic infection control measures”);
Complaint, Wilson v. Ponce, No. 20-cv-4451 (C.D. Cal. May 16, 2020), ECF No. 1, at 99 (Declaration of
Shamsher Samra, MD) (“it is questionable whether the healthcare system at Terminal Island is even
capable of responding to the dire situation it now faces”); Facility Evaluation: Metropolitan Detention
Center COVID-19 Response, Chunn v. Edge, No. 20-cv-1590 (E.D.N.Y. Apr. 30, 2020), ECF No. 72-1, at
2 (“Not only is MDC [Brooklyn] ill-equipped to identify cases of COVID-19 within its population, but it
has not implemented adequate infection control practices. In fact, it is my assessment that several
current practices in MDC actually promote a more rapid spread of COVID-19. . .”).


                                                    9
      Case 1:19-cr-00362-LO Document 36 Filed 12/11/20 Page 10 of 13 PageID# 217



scale testing. Less than 49 percent of BOP-incarcerated individuals have been tested and testing

capabilities vary from facility to facility.12

          The medical treatment Mr. Carpenter currently receives at home is far superior to the

subpar medical attention he would receive in any BOP facility. He is able to maintain social

distancing and attend to his conditions in a more comprehensive manner.

                 C. Duties of the U.S. Sentencing Commission — 28 U.S.C. § 994(g)

          When enacting the Sentencing Reform Act of 1984, Congress confirmed that the “nature

and capacity” of federal prisons is a critical sentencing consideration.13 For this reason, Congress

obligated the Sentencing Commission (“Commission”) to formulate guidelines “to minimize the

likelihood that the Federal prison population will exceed the capacity of the Federal prisons[.]

          Despite this obligation, BOP facilities have historically been, and remain, overcrowded.

Adding COVID-19 to the mix has resulted in prisons and jails that are even more dangerous,

inhumane, and deadly. The BOP is simply not equipped to handle this global pandemic. Courts

and BOP employees have acknowledged as much. “This Court has seen no evidence that the BOP

has the capacity to timely and effectively consider the flood of compassionate release motions

occasioned by the COVID-19 pandemic—and instead, it seems apparent that the BOP is struggling

to handle the crisis within its prison population.”14


 See Fed. Bureau of Prisons, BOP: COVID-19 Update, https://www.bop.gov/coronavirus/ (last visited
12

Nov. 6, 2020), (75,449 inmates with either completed or pending tests); Fed. Bureau of Prisons, BOP:
Population Statistics, https://bit.ly/3eCgrgT (last visited Nov. 6, 2020) (“154,488 total federal inmates”).

13   28 U.S.C. § 994(g).

14 United States v. McIndoo, ---F.Supp.3d---, 2020 WL 2201970, at *8 (W.D.N.Y. May 6, 2020); see also
Kim Bellware, Prisoners and Guards Agree About Federal Coronavirus Response: ‘We do Not Feel Safe,’
Wash. Post (Aug. 24, 2020), https://wapo.st/31CFdd5 (“It’s a complete disaster.”) Class Action
Complaint, Torres v. Milusnic, No. 20-cv-04450 (C.D. Cal. May 16, 2020), ECF No. 1, at 79 (Declaration
of Shamsher Samra, M.D.) (recognizing that the alleged conditions at Lompoc “make it virtually
impossible to ensure the safety of prisoners who remain housed at the facility if the current course is
maintained” and the conditions “practically ensure[ ] that all remaining prisoners will eventually
contract COVID-19 unless extraordinary measures are taken now”); Emergency Petition for Writ of
Habeas Corpus, Wilson v. Williams, No. 20-cv-794 (N.D. Ohio Apr. 13, 2020), ECF No. 1-3, at 4
(Declaration of Meghan Novisky, PhD) (“To be clear, without drastic intervention, may more
incarcerated individuals and staff [at FCI Elkton] will become infected and will face elevated risks for
medical complications and mor[tality].”).

                                                     10
     Case 1:19-cr-00362-LO Document 36 Filed 12/11/20 Page 11 of 13 PageID# 218



        Congress has similarly recognized BOP’s failed capacity. On March 27, 2020, Congress

passed the CARES Act and authorized the Attorney General to increase the use of home

confinement. There is simply no need to imprison Mr. Carpenter given all these considerations,

particularly given that his offense was non-violent.

                                V. THE COURT SHOULD DEPART
                                FROM THE GUIDELINES RANGE

                                         A. General Departure

        This case is outside the “heartland” of typical cases because the Commission did not

consider the COVID-19 pandemic in formulating the Guidelines. COVID-19 is a special and

unusual consideration that justifies a lower sentence than the Guidelines provide. USSG

5K2.0(a)(3).15 The sentencing statute permits a court to depart from a guideline-specified sentence

when it finds a mitigating circumstance not adequately taken into consideration by the

Commission in formulating the Guidelines. USSG ch.1, pt. A, Introduction, Comment. n. (4)(B).

        COVID-19, coupled with the specific characteristics of Mr. Carpenter’s prior existing

conditions, makes this an atypical case, worthy of a departure.

                                         B. Specific Departures

                                          1. USSG § 5H1.1: Age

        Mr. Carpenter is 60. As a person ages, his risk for severe illness from COVID-19 increases.

For example, people in their 50s are at higher risk for severe illness than people in their 40s.

Similarly, people in their 60s or 70s are, in general, at higher risk for severe illness than people in

their 50s. In fact, 8 out of 10 COVID-19-related deaths reported in the United States have been

among adults aged 65 years and older.16




15See USSG § 5K2.0(a), (2)(B); Koon v. United States, 518 U.S. 81, 95 (1996) (quoting United States v.
Rivera, 994 F.2d 942, 949 (1st Cir. 1993)).

16CDC, Coronavirus Disease 2019 (COVID-19): Older Adults (last visited Nov. 2, 2020),
https://bit.ly/2ZGD5jK (8 out of 10 deaths reported in the U.S. have been in adults 65 and older).


                                                   11
     Case 1:19-cr-00362-LO Document 36 Filed 12/11/20 Page 12 of 13 PageID# 219



                               2. USSG § 5H1.4: Physical Condition

        According to the CDC, adults with asthma or damaged or scarred lung tissue might be at

increased risk for severe illness from the virus that causes COVID-19.17 According to his physician

of 20+ years, Mr. Carpenter has a history of “severe lung collapse” and would be at “high risk for

severe respiratory complications” should he be exposed to and contract the COVID-19 virus. His

current health conditions as set forth in the PSR and Dr. Nagell’s letter, exacerbated by the rising

COVID-19 infections – which were not considered by the Sentencing Commission – warrant a

departure in this case.

                                        VI. CONCLUSION

        Mr. Carpenter respectfully requests this Court consider the extraordinary external

prevailing conditions – together with his unique medical concerns – and impose a sentence of home

detention, which is reasonable and appropriate given his individual history and characteristics and

the possible health implications to him given the COVID-19 pandemic.

                                             Respectfully submitted,

                                             BRIAN CARPENTER
                                             By Counsel


                                             /s/ Pleasant Brodnax       .
                                             Pleasant S. Brodnax, III
                                             Virginia Bar No. 26477
                                             1701 Pennsylvania Avenue, NW
                                             Suite 300
                                             Washington, D.C. 20006
                                             (202) 462-1100
                                             Pleasant.Brodnax@gmail.com

                                             /s/ Robert Jenkins        .
                                             Robert L. Jenkins, Jr.
                                             Bynum & Jenkins Law
                                             Virginia Bar No. 39161
                                             1010 Cameron Street
                                             Alexandria, Virginia 22314
                                             (703) 309-0899
                                             RJenkins@BynumAndJenkinsLaw.com

17CDC, People with Certain Medical Conditions, https://www.cdc.gov/coronavirus/2019-ncov/need-
extra-precautions/people-with-medical-conditions.html

                                                 12
   Case 1:19-cr-00362-LO Document 36 Filed 12/11/20 Page 13 of 13 PageID# 220




                                  CERTIFICATE OF SERVICE

    I hereby certify that a copy of the foregoing motion was filed by CM/ECF on the 11th day of
December 2020, which will send a notification of such filing (NEF) to the all counsel of record.

                                            /s/ Pleasant Brodnax           .
                                            Pleasant S. Brodnax, III




                                                13
